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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR17-203-JCC
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   STACIA QUARTO,                       )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Commit Bank Fraud; Aggravated Bank Fraud

15 Date of Detention Hearing:     September 5, 2017.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.     Defendant has been indicted in this District on charges related to an alleged

22 scheme of several years duration in which the alleged co-conspirators stole wallets from victim



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01 individuals, using the identification to fraudulently access the victims’ bank accounts. The

02 conspiracy is alleged to have caused a loss to individuals and financial institutions in this

03 District in an amount exceeding $230,000. The Indictment alleges other victim individuals

04 and financial institutions lost an additional amount exceeding $500,000. The AUSA proffers

05 that the proceeds of the conspiracy allegedly received by defendant have not been identified or

06 seized.

07           2.    Defendant has no ties to this District, and is not employed. She receives

08 Supplemental Security Income. She was interviewed by Pretrial Services in the District of New

09 Mexico, but declined an interview in this District. She has been residing in New Mexico,

10 although the AUSA proffers that she was planning to move. Defendant’s criminal record

11 includes failures to appear for court hearings and theft-related charges.

12           3.    Defendant poses a risk of nonappearance based on unemployment, unstable

13 residence, lack of ties to this District, past non-compliance with court orders, prior failures to

14 appear and violation of bail bonds, and unknown substance use and mental health history.

15 Defendant poses a risk of danger based on the nature of the offense, unknown substance use,

16 and criminal history.

17           4.    There does not appear to be any condition or combination of conditions that will

18 reasonably assure the defendant’s appearance at future Court hearings while addressing the

19 danger to other persons or the community.

20 It is therefore ORDERED:

21 1. Defendant shall be detained pending trial, and committed to the custody of the Attorney

22      General for confinement in a correction facility separate, to the extent practicable, from



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01      persons awaiting or serving sentences or being held in custody pending appeal;

02 2. Defendant shall be afforded reasonable opportunity for private consultation with counsel;

03 3. On order of the United States or on request of an attorney for the Government, the person

04      in charge of the corrections facility in which defendant is confined shall deliver the

05      defendant to a United States Marshal for the purpose of an appearance in connection with a

06      court proceeding; and

07 4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel for

08      the defendant, to the United States Marshal, and to the United State Probation Services

09      Officer.

10         DATED this 5th day of September, 2017.

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12                                                      A
                                                        Mary Alice Theiler
13                                                      United States Magistrate Judge

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